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STATE 0F oKLAHoMA OKLAH°MA COuNTY' OKLA'

M]KE I-I[BDON, as P_ersonal Representative )
of the Estate of Audrey Hihdon-Hotopp, )
Plaintif`f, §
)

i;"ARMERs INSURANCE Colm>ANY, INC., § Cm No' Cv.l "* 2 012*' 5 9 2 9
Dcfendant. §

PETITION

COMES NOW, the above captioned Plaintiii and for his cause of against Defendant, alleges
and states: _

l. 'I`hat Plaintiff is a resident of the State of Oklahorna, County of 0klahoma;

2. That the deceased, Aud.rey Hibdon-I-Iotopp, Was a resident of the State of Oklahoma,
County of Oiclahoma, at the time of her death.

3. Defendant is a foreign corporation doing business in Oklahoma County, State of
Oklahoma.

4. Dofendant is a cox'poration incorporated under tile laws of the Swtc ofCalifornia, and
doing business in the State of Oklahoma. `

5. Plaintiii‘ had in effect an insurance policy, issued by Dcfendsnt, covering her home
located at 2‘£ 16 SW 69‘h St., Oiclahoma City, Oklahoma 73150.

6. Said insurance policyr was purchased by the decedent from Defendant or Defendant’s
agent in Oklahoma County, oklahoma

7. Farmers Insurance Company, Inc. (“Farmcrs”) conducts business and advertises

EXHIB|T

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8. The facts that give rise to this action have substantial contacts with Oklahoma
County, Oklahoma, such that jurisdiction is proper in this action in Oklahorna

County, Oklahoma.

FACTS RELEVANT TO EACE CAUSE OE AC'I`IO§

9. That at all times mentioned herein, Aubry Hibdon-Hotopp was insured by a policy
of insurance (Policy No. 08-0907620182) which was issued, sold, managed and
administered by named Defendant. l

l{). Farmers accepted payments from Aubry Hibdon-I-Iotopp on the policy above
referenced l

11. Thc policy number 03-XX-XXXXXXX Was in effect at-the time oft.hc ioss.

12. On or about January 6, 2006, a theft occurred at the insured residence

13. Thereai’ter, Auhry~Hibdon Hotopp, filed a claim with Farmers as a result of a theft
that occurred at the insured residence on Jannar_v 6, 2006.

14. That the Plaintiff previously filed a Petition with this Court regarding this matter in
Case Numher CJ»2010~2342. Said Petition was Dismissed Without Prejudice on the

19“‘ day of Scptember, 2011. Thercfore, Plaintiff is within his one year time period

to re~iile his Petition.
FIRST CAUSE OF AQJ}Q§ - BREACH OF CONTRACT

15. Plaintiff reincorporate paragraphs 1~12 as if fully set forth herein

16. Defendant has failed to pay the claim submitted by Aubr_v Hibdon-Hotopp for said

theft

 

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conditions of its insurance contract and/or addendums or other representations made
to-the PlaintilT,
The conduct ofFarmers, as described above, represents a material breach of the terms t
and conditions of the insurance contract between the parties
l>laintifiC has been damaged by virtue of this breach in an amount in excess of Ten
Thousand Dcllars ($10_,000.00).

SECOHQ CAUSE OF ACTION BAD FAITH
Plaintiff reincorporates paragraphs 1-17 as if fully set forth herein.
seaman has a amy a den fairly ana in good faith was is insureds
Farmers has breached its duty of good faith and fair dealing and profited by not
reasonably investigating the claim ofPlaintiff before its denial of said claim.
Farmers breached its duty of good faith and fair dealing and profited by denying the
claim of Plaintifi` without a reasonable basis therefore, as it accepted and retained all
payments for the policy period at issue, and gave assurances such action would result
in coverage for said residence
As a direct result of Farrners’ bath faith, Plaintift` has suffered financial loss, mental
andemotional distress and other damages in excess of $10,000.00.
Farmers’ actions were willful or in such reckless disregard of Plaintiff’s rights that

punitive and exemplary damages should be awarded in excess of $l 0,000.00.

PRAYER EOR RELIEF

WHEREFORE,' Piaintiff prays for judgment in his favor and against Det`endant for:

a. Actual damages in an amount in excess of $10,000.00;

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d. Recoverable costs;
e. A reasonable attorney’s fee; and,
f. Any other relief deemed appropriate by the court

Respeotfuliy Subrnitted, '
i. HIBD\ , as Personal Representative of the

By:

    

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Chickasha, Oklahoma 73018
(405) 222-5550

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